IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA

SOUTHERN DIVISION

No.
IN RE: CAMP LEJEUNE
WATER LITIGATION

/

THES DOCUMENT RELATES TO: JURY TRIAL DEMANDED
Benjamin Lee Bright
Plaintiff First Middle Last Suffix

The Plaintiff named below, or Plaintiff's representative, files this Short Form Complaint
against Defendant United States of America under the Camp Lejeune Justice Act of 2022
(“CLJA”). Pub. L. No. 117-168, § 804, 136 Stat. 1802, 1802-04 (2022). Plaintiff or Plaintiff's
representative incorporates by reference the allegations contained in the Master Complaint
(DE 25) on file in the case styled In Re: Camp Lejeune Water Litigation, Case No. 7:23-cv-897,
in the United States District Court for the Eastern District of North Carolina. Plaintiff or Plaintiff's
representative files this Short-Form Complaint as permitted by Pretrial Order No. 2.

Plaintiff or Plaintiff's representative alleges as follows:

L INSTRUCTIONS

1, On THIS FORM, are you asserting a claim for | This form may only be used to file a complaint for
injuries to YOU or te SOMEONE ELSE you legally | ONE PERSON’S injuries. [f you intend to bring

represent? claims for multiple individuals’ injuries—-for example,

il To me a claim for yourself and one for a deceased spouse—

M Someone else you must file ONE FORM FOR EACH INJURED
PERSON.

Case 7:23-cv-01561-FL Docurnént1 Filed 11/06/23 Page 1 of 5
TL. PUAINTIEE INFORMATION
If you checked “To me” in Box 1, YOU are the Plaintiff. Complete this section with information about YOU.

If you checked “Someone else” in Box 1, THAT PERSON is the Plaintiff, Complete this section with
information about THAT PERSON,

2. First name: 3. Middle name: 4, Last name: 5. Suffix:
Benjamin Lee Bright
6. Sex: 7. Ns the Plaintiff deceased?
i Male ElY¥es
(Female MBNo
(Other
Ifyou checked “To me " in Box i check “No” here.

9, Residence state:

North Carolina

ech

_ _ a ihn esis = ae
iL. Plaintiff's residence | 12. Was the Plaintiff’s death caused by an injury
death: state at the time of their | that resulted from their exposure to contaminated
death: water at Camp Lejeune?
ChYes
CINo

If you checked “To me” in Box 1, complete this section with information about YOU.

if you checked “Someone else” in Box L, complete this section with information about THAT PERSON.

13. Pisintiff’s first month of exposure to the water 14, Plaintiff's last month of exposure to the water at

at Camp Lejeune: Camp Lejeune:
04/1965 05/1989

15. Estimated tatal moaths of exposure: 16. Plaintiff's status at the time(s) of exposure
293 (please check all that apply):

i Member of the Armed Services
ial Civilian (includes in utero exposure)

17, If you checked Civilian in Box 16, check all that | 18. Did Plaintiff at any time live or work in any of

describe the Plaintiff at the time(s) of exposure: the following areas? Check all that apply.

Civilian Military Dependent C]Berkeley Manor

ElCivilian Employee of Private Company i Hadnot Point

ii Civil Service Employee ii Hospital Point

Clin Utero/Not Yet Born (Knox Trailer Park

[Other ial Mainside Barracks
CiMidway Park
[Paradise Point
CiTarawa Terrace
C}None of the above
CFUnknown

Case 7:23-cv-01561-FL Docurhént1 Filed 11/06/23 Page 2 of 5
If you checked “To me” in Box 1, complete this section with information about YOU.

If you checked “Someone else” in Box 1, complete this section with information about THAT PERSON.

19. Identify the illnesses or conditions the Plaintiff suffered as a result of exposure to contaminated water at

Camp Lejeune.

"Approximate date of onset

[Adverse birth outcomes (Plaintiff is the PARENT of an individual who died in
utero or was stillborn or born prematurely)

CALS (Lou Gehrig’s Disease)

CiAplastic anemia or myelodysplastic syndrome

CiBile duct cancer

Mi Bladder cancer

08/2015

CJ] Brain / central nervous system cancer

CBreast cancer

(Cardiac birth defects (Plaintiff was BORN WITH the defects)

ClCervical cancer

C)Celorectal cancer

CiEsophageal cancer

C] Gallbiadder cancer

[Hepatic steatosis (Fatty Liver Disease)

Ci Hypersensitivity skin disorder

(Infertility

OIntestinal cancer

(Kidney cancer

CNon-cancer kidney disease

CiLeukemia

CiLiver cancer

Cl Lung cancer

[]Mutliple myeloma

Cl] Neurobehavioral effects

CNon-cardiac birth defects (Plaintiff was BORN WITH the defects)

CiNen-Hodgkin’s Lymphoma

CloOvarian cancer

CPancreatic cancer

Cl Parkinson’s disease

CiProstate cancer

CiSinus cancer

C]Soft tissue cancer

FSystemic sclerosis / scleroderma

[Thyroid cancer

Case 7:23-cv-01561-FL Documént1 Filed 11/06/23 Page 3 of 5
The Camp Lejeune Justice Act does not specify a list of covered conditions.

Ifthe Plaintiff suffers or previously suffered from a condition not listed above, and the Plaintiff alleges that the
condition was caused by exposure to the water at Camp Lejeune as required under the Act, please check “Other”
and describe the condition on the following lines,

Note in particular that the Board of Veterans’ Appeals of the U.S. Department of Veterans Affairs (the “VA”)
has approved benefits in connection with Camp Lejeune for conditions beyond those listed above.

Cl Other: Approximate date of onset

If you checked “To me” in Box 1, SKIP THIS SECTION and proceed to section VI. (“Exhaustion”).

If you checked “Someone else” in Box 1, complete this section with information about YOU.

26. Representative First | 21. Representative 22. Representative Last [ 23. Representative
Name: Middle Name: Name: Suffix:
24, Residence City: 25. Residence State:
CiOutside of the U.S.
26. Representative Sex: T
Ci] Male
(Female
C1 Other

27, What is your familial relationship to the Plamntifi?
CiThey areAvere my spouse.

C) They are/were my parent.

(lThey are/were my child.

(They are/were my sibling.

CiOther familial relationship: They are/were my

CINo familial relationship.

Derivative claim ee
28. Did the Plaintiff's death or injury cause the Plaintiff’s spouse, children, or parents mental anguish, loss
of financial support, loss of consortium, or any other economic or non-economic harm for which you
intend to seek recovery?

Yes
CNo

Case 7:23-cv-01561-FL Docurmént1 Filed 11/06/23 Page 4o0f 5
YL EXHAUSTION

Yr we

29, On what date was the administrative claim for
this Plaintiff filed with the Department of the Navy
(DON)?

03/07/2023

30. What is the DON Claim Number for the
administrative claim?

Wi DON has not yet assigned a Claim Number

Plaintiff respectfully requests that pursuant to subsection 804(b) of the CLJA the Court

enter judgment against the Defendant and award damages and all other appropriate relief for the

harm to Plaintiff that was caused by exposure to the water at Camp Lejeune.

MILL JURY TRIAL DEMAND

Plaintiff demands a trial by jury of ail issues so triable pursuant to Rule 38 of the Federal

Rules of Civil Procedure and subsection 804(d) of the CLJA.

Dateq: | 1/06/2023

/s/ David J. Mason

David J. Mason, Esq.

NC State Bar No. 47100

Slater Slater Schulman LLP

301 Fayetteville Street, Suite 230
Raleigh, NC 27601

Telephone: (984) 489-9522
Facsimile: (212) 922-0907
Email: dmason@sssfirm.com

Case 7:23-cv-01561-FL Document 1 Filed 11/06/23 Page 50f5
